Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 1 of 54 PageID# 270

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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION

         TAREQ AQEL MOHAMMED                         .        Civil Action No. 1:17CV116
         AZIZ, et al.,                               .
                                                     .
                                 Petitioners,        .
                                                     .
                 vs.                                 .        Alexandria, Virginia
                                                     .        February 3, 2017
         DONALD TRUMP, President of                  .        10:00 a.m.
         the United States, et al.,                  .
                                                     .
                                 Respondents.        .
                                                     .
         .   .   .     .   .    .   .   .   .    .   .

                                TRANSCRIPT OF MOTIONS HEARING
                           BEFORE THE HONORABLE LEONIE M. BRINKEMA
                                 UNITED STATES DISTRICT JUDGE

         APPEARANCES:

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                               (APPEARANCES CONT'D. ON FOLLOWING PAGE)

                                                (Pages 1 - 54)

                     COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES



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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 2 of 54 PageID# 271

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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 3 of 54 PageID# 272

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    1                             P R O C E E D I N G S

    2                THE CLERK:    Civil Action 17-116, Tareq Aqel Mohammed

    3    Aziz, et al., v. Donald Trump, President of the United States,

    4    et al.    Will counsel please note their appearances for the

    5    record.

    6                MR. RAPHAEL:    Good morning, Your Honor.            Stuart

    7    Raphael from the Commonwealth of Virginia.

    8                THE COURT:    Good morning.

    9                MR. HERRING:    Good morning, Your Honor.            Mark

   10    Herring.

   11                THE COURT:    Good morning.

   12                MR. HEAPHY:    Good morning, Your Honor.            I'm Jim

   13    Heaphy at Hunton & Williams.      I'm here for Osman Nasreldin and

   14    Sahar Fadul.

   15                THE COURT:    Good morning.

   16                MR. HEAPHY:    Good morning.

   17                MR. SANDOVAL-MOSHENBERG:       Good morning, Your Honor.

   18    Simon Sandoval-Moshenberg, Legal Aid Justice Center, appearing

   19    pro bono for the Aziz petitioners; and with me is Paul Hughes

   20    with the Mayer Brown law firm, who has been admitted pro hac

   21    vice.

   22                THE COURT:    Good morning, counsel.          We almost ran out

   23    of seats for you-all, didn't we?

   24                MR. BARGHAAN:    And good morning, Your Honor.

   25    Assistant United States Attorney Dennis Barghaan on behalf of




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 4 of 54 PageID# 273

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    1    the respondents.     With me today is Erez Reuveni from the Office

    2    of Immigration Litigation at the Department of Justice, the

    3    Civil Division, and he will be arguing the cause on behalf of

    4    the respondents this morning.

    5                THE COURT:    Don't you want to do that, Mr. Barghaan?

    6                MR. BARGHAAN:    Can I plead the fifth?

    7                                 (Laughter.)

    8                THE COURT:    You realize you'll be quoted on that one,

    9    I'm sure.    All right.

   10                Well, I'm glad everybody is smiling this morning

   11    because I hope we can resolve what's before us today in a good

   12    and amicable and civil fashion.        All right, we have several

   13    motions before us, and I want to address the first one, which

   14    is the motion to hold in abeyance.         It's my understanding that

   15    in terms of the two Aziz plaintiffs, they have worked out their

   16    dispute with the United States.        Is that correct?

   17                MR. REUVENI:    That is correct, Your Honor.

   18                THE COURT:    All right.    Could you -- how close is

   19    that resolution to being finalized?

   20                MR. REUVENI:    So we have a signed settlement document

   21    that both parties have countersigned.          It is not finally

   22    executed; that will take several days.           There are certain

   23    conditions in the settlement that need to be -- need to occur

   24    before the settlement is finally executed, at which point

   25    our -- the terms of the settlement will lead to dismissal of




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 5 of 54 PageID# 274

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    1    the Aziz brothers' claims.

    2                 THE COURT:    But as you know, there were other, I

    3    believe, 60 John Does also named in that complaint --

    4                 MR. REUVENI:    Yes.

    5                 THE COURT:    -- so that there are other claims that

    6    still are potentially unresolved.

    7                 MR. REUVENI:    I don't want to speak on behalf of

    8    plaintiffs' counsel, but there is language in there that the

    9    government believes addresses those claims as well.                 It just

   10    leads -- it would lead to a dismissal without prejudice, and if

   11    those claims are picked up again, if individuals are identified

   12    that can raise those claims, they'd be free to bring them

   13    before the Court.

   14                 THE COURT:    All right.   Well, that, I think, then is

   15    a segue into the motion from the commonwealth to intervene in

   16    this case.    Mr. Raphael?

   17                 MR. RAPHAEL:    Your Honor, if I may, I think

   18    Mr. Heaphy has a motion to intervene.          It would make sense for

   19    sequencing purposes for him to -- for the Court to address

   20    that.   I think he's going to be very brief.

   21                 THE COURT:    All right, that's fine.

   22                 MR. HEAPHY:    Thank you, Your Honor.         Your Honor, good

   23    morning again.    I'm Tim Heaphy, and I'm here representing the

   24    proposed intervenors Osman Nasreldin and Sahar Fadul.

   25                 We have filed a motion to intervene in this matter




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 6 of 54 PageID# 275

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    1    because our clients are in a very same position as the

    2    petitioner-plaintiffs, the Aziz brothers.             Very briefly, Your

    3    Honor, our clients are an American citizen, Mr. Nasreldin, and

    4    his Somali fiancee, Ms. Fadul.        She was on the very same flight

    5    with the Aziz brothers from Ethiopia to Dulles Airport on

    6    Friday, January 28.

    7               She was detained at the airport, asked to sign a

    8    paper, we believe, withdrawing her K-1 visa, which she had been

    9    lawfully issued by the embassy in Sudan, and when she did sign

   10    that document, despite the fact that she doesn't speak English

   11    and did not understand it, she was immediately returned to

   12    Ethiopia, and it is on that basis that we have filed the motion

   13    to intervene and seek the Court's leave to help us reverse that

   14    action and get her admitted on that lawfully issued K-1 visa.

   15               THE COURT:    So she's within those 60 John Does that

   16    were part of the original case.

   17               MR. HEAPHY:    I believe so, Your Honor, but again --

   18               THE COURT:    Well, if she was at Dulles Airport --

   19               MR. HEAPHY:    She was.

   20               THE COURT:    -- she was among those.

   21               MR. HEAPHY:    She was.     I think she was actually on

   22    the same flight, Your Honor, yes.         But again, we also represent

   23    her American citizen husband, who is a resident of Colorado.

   24               Now, we have also been offered a proposed resolution

   25    by the United States.     I think it is exactly the same




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 7 of 54 PageID# 276

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    1    resolution that is offered the Aziz brothers, and that

    2    essentially would be to return Ms. Fadul to the United States

    3    on that originally executed K-1 visa, and we are inclined to

    4    work with the United States to have that occur, but we do not

    5    believe that the litigation should be held in abeyance.

    6               Our preference is for Your Honor to grant our motion

    7    to intervene because there are common questions of law and fact

    8    at issue with our clients and the Aziz brothers, but until our

    9    client is returned to the United States pursuant to that

   10    agreement, this is a very live controversy.

   11               THE COURT:    All right.

   12               MR. HEAPHY:    As a matter of fact, we actually asked

   13    the Court to set a deadline by which we would file a

   14    substantive complaint, and if Ms. Fadul has been returned,

   15    obviously, that would moot that, and we would withdraw for --

   16    or seek to dismiss our case, but we believe, Your Honor, it's a

   17    very live controversy, and unless and until Ms. Fadul is

   18    returned to this country pursuant to this negotiated settlement

   19    that we are attempting to work out with the government.

   20               We don't have a signed document.            We have had

   21    discussions, but essentially, it would be to return our client

   22    to the United States, which would then moot her substantive

   23    claims.

   24               THE COURT:    Thank you.

   25               MR. HEAPHY:    So, Your Honor, again, we would just




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 8 of 54 PageID# 277

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    1    move to formally intervene, and hopefully, the Court will grant

    2    our motion.

    3               THE COURT:    All right.

    4               MR. REUVENI:     Good morning again, Your Honor.               This

    5    can be very short.     We have an agreement in principle.

    6    However, in case that doesn't come together, which I don't have

    7    any reason to believe it should, there are very similar terms

    8    that, as her counsel indicated, if that does not follow

    9    through, intervention would not be appropriate in this case.

   10               The individual who we are seeking to bring back

   11    pursuant to this settlement we have in principle is not an

   12    unlawful permanent resident is and not an immigrant visa

   13    holder.

   14               THE COURT:    But she is somebody who went through a

   15    carefully vetted review process, correct, before she got the

   16    authorization to come here?

   17               MR. REUVENI:     That's absolutely correct.

   18               THE COURT:    That's absolutely correct, all right.

   19               MR. REUVENI:     She is a -- well, actually, sorry, let

   20    me clarify.

   21               THE COURT:    All right.

   22               MR. REUVENI:     There are different levels.

   23               THE COURT:    I'm fully aware of that.

   24               MR. REUVENI:     A K-1 visa is a nonimmigrant visa that

   25    fiancees can use to come to the United States and within 90




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 9 of 54 PageID# 278

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    1    days get married once they arrive here.           It is not the same

    2    level of rigorous review that may occur in the context of

    3    refugees or in other sorts of review scenarios.

    4               And the issues that would arise if this case -- and

    5    we're not saying they can't bring their case.              They can

    6    certainly bring their case.      It's just not the same nexus of

    7    facts or events.     It's not the same type of visa.             It's not the

    8    same type of legal issues.      It's not the same sort of due

    9    process rights that may be in play.

   10               It would unnecessarily complicate this case and

   11    essentially set up, if this case moves forward, which we very

   12    much hope it does not at least not respect to the Aziz brothers

   13    and with respect to the additional individual who wishes to

   14    intervene, but it would set up two separate tracks before Your

   15    Honor of a nonimmigrant track, an immigrant visa track, and a

   16    lawful permanent resident track, so you'd have three separate

   17    sets of legal issues.

   18               THE COURT:    Well, I don't know why it should.                If, in

   19    fact, the proper way of looking at this case is to simply draw

   20    a line in the sand and say that any visas or other

   21    authorizations to come into the United States that had gone

   22    through the then existing appropriate processes before the

   23    executive order went into effect should be implemented, and --

   24    so that anybody, whether they're a refugee or they've got a K-1

   25    visa or they've got a -- or they're a lawful permanent




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 10 of 54 PageID# 279

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     1   resident, if that paperwork had gone through, they've been

     2   properly vetted through the processes that we've had in place

     3   up to this point, why should they not get the benefit of that?

     4               Going forward is another question because the

     5   executive order has changed that situation, but I'm looking

     6   right now and I think most of the -- all of the issues in this

     7   case right now are focused essentially on that, that people who

     8   have already gotten the permission to be in this country or to

     9   come to this country, why should that not be honored?

    10               MR. REUVENI:    Before I answer that, just one global

    11   response to that.     I don't know that the issues that the

    12   commonwealth wishes to raise, but we'll talk about that later,

    13   fall into that category, but with respect to the Aziz

    14   plaintiffs and with respect to the individual with the K-1

    15   visa, yes, our understanding is they all arrived here over the

    16   weekend, which is why the United States government is looking

    17   to resolve those particular issues.

    18               If I may perhaps just suggest this as a course

    19   forward with respect to the motion to intervene, we do have an

    20   agreement in principle.      At this point, we're simply

    21   wordsmithing.     There's no principle terms that are in

    22   disagreement at this point between the parties.

    23               Perhaps we table the motion to intervene for a short

    24   period of time, allow us to reach a settlement, and we may not

    25   even need to deal with these issues, but we can do that on a




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 11 of 54 PageID# 280

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     1   short turnaround, if you don't object to that, of course, and

     2   we don't have to address this on the legal matter -- on the

     3   legal merits.

     4               MR. HEAPHY:    If I may, Your Honor, I do object to

     5   that.   We need to be intervened in this case.

     6               THE COURT:    You want a stake in this litigation just

     7   in case.

     8               MR. HEAPHY:    We need to be in the case.            We see it

     9   exactly as Your Honor just articulated in your question.                   This

    10   is a matter of whether or not people with lawful visas vetted

    11   carefully by the United States government were wrongly and

    12   unconstitutionally denied access.        That's the situation

    13   involving our client with the K-1 visa and those with the

    14   immigrant visas.

    15               There may be subtle factual distinctions that would

    16   be relevant, but the common issues of law and fact in our view

    17   compel intervention.      We need to be a party in this case,

    18   frankly, for leverage to enforce whatever settlement may ensue,

    19   and we don't have a settlement until Ms. Fadul sets foot back

    20   in the United States, and that has not happened yet.

    21               THE COURT:    I understand.     Well, first of all, I want

    22   to commend -- I want to commend the government for working so

    23   quickly in trying to resolve these cases.            That's great.         And I

    24   don't want to do anything that's going to interfere with that,

    25   but I do agree with Mr. Heaphy that, number one, I think that




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 12 of 54 PageID# 281

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     1   his clients have alleged sufficient common facts and issues of

     2   law that are already included in the amended papers that have

     3   been filed in the original case to justify the Court's exercise

     4   of its discretion and to allow them to intervene, so the motion

     5   is granted, all right?

     6               MR. REUVENI:    Your Honor, I understand the order, but

     7   I just want to verify something for the record.

     8               THE COURT:    Yeah.

     9               MR. REUVENI:    I mean, we'll work this out going

    10   forward, of course.

    11               It is the government's understanding that

    12   Mr. Heaphy's client is not in either of the two classes before

    13   you in the current -- in the current state of this case.                   A

    14   nonimmigrant visa is very different than an immigrant visa.

    15   Very different equities attach.        Very different processes

    16   occur.

    17               THE COURT:    Yes, and --

    18               MR. REUVENI:    Putting that aside --

    19               THE COURT:    Right.

    20               MR. REUVENI:    Putting that aside, going forward if we

    21   need to, we'll elaborate on that.

    22               THE COURT:    Thank you.

    23               All right, Mr. Raphael?

    24               MR. RAPHAEL:    Thank you, Your Honor.           I stood up

    25   before because the permissive intervention and intervention of




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 13 of 54 PageID# 282

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     1   right issues that you were just talking about are obviously at

     2   issue in our case with our motion as well.             So we do have a

     3   motion to intervene.      We filed that on Tuesday.           On Wednesday,

     4   we filed a proposed complaint in intervention.

     5               And I think it's important to start from the

     6   standpoint that at this stage of the proceeding, there are now

     7   two parties in the case that are in that have, that clearly

     8   have standing, and the law is clear, as I believe the

     9   government cited in its papers, that you only need one

    10   plaintiff to have standing in order for the Court to be able to

    11   exercise its Article III jurisdiction.

    12               So I'm going to get to in a second why it's

    13   absolutely clear that Virginia has standing because of direct

    14   injuries to Virginia, but the government argued last night in

    15   their brief that we don't have standing, and given that there

    16   are now several parties who are plaintiffs in the case, the

    17   Aziz brothers and Mr. Heaphy's clients, standing is just not a

    18   question.

    19               And the case I would cite for that is Rumsfeld v.

    20   Forum for Academic and Institution Rights.             It's 547 U.S. 47,

    21   at -- pinpoint is 52, note 2, from 2006, where the Court said

    22   the presence of one party with standing is sufficient to

    23   satisfy Article III's case or controversy requirement.

    24               So the government's principal objection to our motion

    25   to intervene is that we don't have standing.              It's just not an




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 14 of 54 PageID# 283

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     1   issue given the current posture of the case.

     2               They also suggest that the case is somehow mooted now

     3   because they're working out a deal to whisk these other

     4   plaintiffs back in exchange for their promising to dismiss

     5   their cases once they get back to U.S. soil.              That's just not

     6   accurate as far as the law goes.

     7               We cited to the Court CVLR v. Wynne in the papers we

     8   filed last night.     That's 792 F.3d 469, 475.           And I have a copy

     9   of that.    If it would help the Court, I have a copy of that.

    10               THE COURT:    It's all right.

    11               MR. RAPHAEL:    Okay.   Two sentences that appear at

    12   page 475 of that, of that opinion, the first one is that most

    13   courts -- this is in footnote 2 -- "Most courts that have

    14   considered situations similar to Tosco" -- which was a Tenth

    15   Circuit case -- "agree that when the motion to intervene is not

    16   filed until after the underlying case is fully resolved, that

    17   motion is moot."

    18               The underlying case here is obviously not fully

    19   resolved.    The Aziz brothers and Mr. Heaphy's clients are in

    20   the case, and it's not fully resolved, but more importantly, I

    21   think this is sort of the -- the important language is further

    22   down the page.     The Fourth Circuit said, "To the contrary, the

    23   case was live when Appellants moved to intervene, and remained

    24   so when the district court denied the motion . . .."

    25               So if the intervention motion is filed when the case




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 15 of 54 PageID# 284

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     1   is a live controversy, that is all that is needed, even if the

     2   underlying case later becomes moot.         So you measure this as of

     3   the time the motion to intervene was filed, and that was filed

     4   on Tuesday, when this was absolutely a live controversy, and

     5   still is.

     6               Now, I'm going to address standing.            We don't need to

     7   because we've got existing parties that have it, but I want the

     8   Court to be comfortable that we absolutely have direct injury

     9   here.   To have standing, you need an injury that's caused by

    10   the conduct at issue and that would be redressed by the relief

    11   that you're seeking, and we satisfy all three of those

    12   requirements.

    13               And I point out, by the way, that the federal court

    14   in Massachusetts just yesterday in the Louhghalam v. Trump

    15   case, docket 17-10154, granted Massachusetts' motion to

    16   intervene in a case that has a very similar posture, and I

    17   actually brought a copy of that order, which I'd be

    18   delighted --

    19               THE COURT:    We've also seen that.

    20               MR. RAPHAEL:    Okay.   Very good.

    21               So what is the direct injury here?            You know, in the

    22   Massachusetts case, Massachusetts was arguing for a much sort

    23   of broader notion of standing, to just protect citizens, you

    24   know, allowing refugees to come to the state.

    25               We're not, we're not challenging the refugee




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 16 of 54 PageID# 285

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     1   provision in this case.      We're here based on direct injury to

     2   Virginia, and it's laid out in Taylor Reveley's declaration,

     3   which we filed yesterday.       That's ECF 32.

     4                In the commonwealth, in our 14 colleges and

     5   universities, not to mention our community colleges, there are

     6   more than 350 students alone at VCU, Virginia Tech, George

     7   Mason, UVA, and William & Mary, 350 students who come from

     8   these banned countries.      There are numerous others at other

     9   schools.    We haven't been able to tally them all up yet, but

    10   that's a lot of students coming to our public schools.

    11                We know at this point based on Mr. Reveley's

    12   declaration, and this is paragraph 5, there are dozens of

    13   employees and faculty who have work visas or LPR status who

    14   come from these banned countries.

    15                We know of at least two students who are trapped and

    16   cannot get back to the United States.          One of them is an

    17   Iranian doctoral candidate who needs to come back to have his

    18   examination for his dissertation, and he was planning to come

    19   with his wife.     They've been issued visas, and then they were

    20   cancelled.    They can't get here.      And they need to do that this

    21   semester.

    22                And then we know of a young lady who is a student at

    23   George Mason University who's from Libya.            Her visa was

    24   cancelled when she was in Turkey, and she's stuck in Turkey.

    25                Now, to the government's credit, they've been working




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 17 of 54 PageID# 286

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     1   with us to try to get the information needed so they can free

     2   her to come back, and that's one reason why we were willing to

     3   set the TRO -- the preliminary injunction hearing for next

     4   Friday rather than for, for this Friday, but I think that

     5   demonstrates the irreparable harm and injury to Virginia's

     6   interests that the executive order is causing right now.

     7               There are other harms that are laid out in

     8   Mr. Reveley's declaration.       For example, a number of scholars

     9   have cancelled their travel plans to international conferences.

    10   They're afraid to leave the country because they won't be able

    11   to get back, and those include some Iranian-born faculty and

    12   students.    That's paragraph 7 of Mr. Reveley's declaration.

    13               We have examples of visiting scholars who've

    14   cancelled their plans to come here.         There are five people in

    15   that category, paragraph 9 of Mr. Reveley's declaration.

    16               There are a number of students who have now withdrawn

    17   their applications to come to our schools.             We're aware of two

    18   Sudanese applicants and a handful of Iranian engineering

    19   students who, who have withdrawn their applications.                 That's

    20   lost opportunity and lost -- and if you have to put it in

    21   monetary terms, obviously, this is much bigger than that, but

    22   if you have to put it in monetary terms, that's lost revenue to

    23   the commonwealth.

    24               All of those direct injuries are plainly caused by

    25   the executive order, and they will plainly be redressed by the




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 18 of 54 PageID# 287

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     1   injunction that we're seeking.       We absolutely have standing.

     2                Now, the primary group we're here to protect are the

     3   students and faculty at our universities and colleges, but we

     4   are also here to protect Virginia residents who are here on LPR

     5   or work or student visas even if they're not going to our

     6   schools, and we have standing for that, too, because they are

     7   taxpayers.

     8                Under IRS Publication 519, at page 3 to 4, the IRS

     9   rules provide that green card holders and others who have been

    10   substantially present in the U.S. are considered U.S. residents

    11   for tax purposes, and Virginia follows that rule.                It's on our

    12   Web site under the residency status page at the Department of

    13   Taxation Web site.     It says, "If you are a resident or a

    14   nonresident alien required to file a federal income tax return,

    15   and you meet the definition of a Virginia resident, part-year

    16   resident or nonresident and other filing requirements, you must

    17   file a Virginia return, unless exempted from the requirement by

    18   federal treaty."

    19                So they're taxpayers, and if they can't be here, we

    20   lose that tax revenue.      And that kind of trivializes what's

    21   really important here, but that's plainly a pecuniary interest

    22   that the commonwealth has.

    23                And if you need case law to back that up, I've got

    24   two suggestions.     Number one, Corr v. MWAA.          That was the

    25   Dulles Toll Road case which Judge Trenga decided; and, you




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 19 of 54 PageID# 288

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     1   know, when I represented MWAA on that case, I argued that the

     2   toll payers didn't have standing because a zillion people pay

     3   tolls, and that it's not adequate to restrict who the

     4   plaintiffs could be, and I persuaded him I was right, but the

     5   Fourth Circuit reversed in that case.

     6               The Fourth Circuit held -- and this is at 740 F.3d

     7   295 (2014) -- the Fourth Circuit held that paying like a $2

     8   toll was enough to give them standing to complain that MWAA was

     9   unconstitutional, and the Fourth Circuit let that case go

    10   forward.    And so if paying $2 is enough for standing, certainly

    11   everything that the commonwealth is losing here is enough for

    12   standing.

    13               And one other case I'd cite is Texas v. United

    14   States, the Fifth Circuit case from 2015, 787 F.3d 733.                   You

    15   know, Texas challenged President Obama's DAPA policy, and their

    16   basis for standing was that because the federal government

    17   deemed these people from other countries to be lawfully

    18   present, Texas had to spend $131 on each of them in order to

    19   issue them a license or some kind of identifying paper, and

    20   that was enough for standing in Texas.

    21               So given that low bar, we amply meet it here.                 We

    22   clearly have standing, but again, we don't need it because

    23   there are two parties in the case who have it.

    24               Now, we have sought both permissive standing --

    25   permissive intervention and as of right intervention, and I




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 20 of 54 PageID# 289

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     1   think I'm going to flip it and take permissive first because

     2   it's really, frankly, the easiest way for the Court to decide

     3   it.   It's totally in your discretion to do it, and this is

     4   where I was going to stand up for Mr. Heaphy's client, because

     5   I think it's easy to think of his motion to intervene in a very

     6   narrow way like we're just dealing with his two clients.

     7               This is a much bigger issue, and I think there's a

     8   very good chance that you're going to be seeing a lot more

     9   motions to intervene, and that's why it's important to

    10   understand what permissive intervention is all about.

    11               There are three elements.       The first one, 24(b)(1),

    12   has to be timely.     We're here in two days after the original

    13   complaint was filed.      That is clearly timely.

    14               Number two, it has to involve a claim or defense that

    15   share with the main action a common question of fact or law.

    16   That's 24(b)(1)(B).      We only need one of those elements.

    17               Both of those elements are satisfied here.                There's a

    18   common legal claim that the executive order is

    19   unconstitutional.     We've pleaded the same theories as the

    20   underlying complaint.      There are also common facts arising from

    21   the events this past weekend at Dulles.           So for both of those

    22   reasons, you clearly have permissive standing under element 2.

    23               And there's a third one.       The third element is

    24   prejudice to the parties.       This is 24(b)(3).         It says:      "In

    25   exercising its discretion, the court must consider whether the




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 21 of 54 PageID# 290

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     1   intervention will unduly delay or prejudice the adjudication of

     2   the original parties' rights."

     3               Well, there's plainly no prejudice to adjudicating

     4   the Aziz brothers' rights.       In fact, they consent to our

     5   intervention.     They're happy for us to be in this case.                So no

     6   prejudice to their rights.

     7               Is there any prejudice to the government's rights?

     8   Obviously not.     Forcing the government to have to adjudicate

     9   the constitutionality of the executive order sooner than they

    10   would like to does not prejudice their rights.              You're not

    11   entitled to do a delay for delay's sake.            So permissive

    12   intervention is plainly established.

    13               We cited a case at page 7 of our brief on this, ECF

    14   No. 15, footnote 17, I want to bring to the Court's attention:

    15   Feller v. Brock.     It's 802 F.2d 722, 729 (4th Cir. 1986), and

    16   it really captures the purpose of permissive standing --

    17   permissive intervention.

    18               The court said:     ". . . [L]iberal intervention is

    19   desirable" -- desirable -- "to dispose of as much of a

    20   controversy 'involving as many apparently concerned persons as

    21   is compatible with efficiency and due process.'"               That was

    22   tailor -- in other words, permissive intervention is

    23   tailor-designed for exactly this kind of controversy, because

    24   when it gets out that what the government is really doing is

    25   anybody who comes forward to sue them will be allowed back in




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 22 of 54 PageID# 291

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     1   the United States, there are a lot of people who are going to

     2   want to come forward to take that deal, and you shouldn't make

     3   them file a new lawsuit to do that.         That's exactly what

     4   permissive intervention is for.

     5               Let me turn to intervention of right.             The federal

     6   court in Massachusetts, I know Your Honor is familiar with

     7   that, granted Massachusetts' intervention of right as opposed

     8   to discretion.     It granted it as of right.          Similar elements.

     9   It has to be timely.      We are, two days.       You have to show that

    10   the intervenor shares -- claims an interest relating to the

    11   property or transaction that's the subject of the action and is

    12   so situated that disposing of the action may as a practical

    13   matter impair or impede the movant's ability to protect its

    14   interest unless existing parties adequately represent that

    15   interest.

    16               I have articulated Virginia's substantial interest.

    17   I think that's clearly satisfied.        Virginia's interests will be

    18   adversely affected were this executive order upheld, and as a

    19   sovereign entity, we are plainly not represented by the Aziz

    20   brothers or by Mr. Heaphy's clients, so all of those elements

    21   are satisfied.

    22               Now, you've heard the government say, well, the

    23   claims by these plaintiffs and by Virginia are kind of

    24   different claims so they shouldn't be in this case.                 That is

    25   not the test for intervention.       In the CVLR case, you had




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 23 of 54 PageID# 292

                                                                                         23

     1   different plaintiffs who were injured differently by the

     2   defendants' common racketeering scheme.

     3                Of course they were different claims.            The issue is

     4   is there a common claim of law or a common claim of fact, and

     5   you plainly have that here.

     6                Practicality is also a critical aspect of the

     7   decision whether to allow intervention, and the Ninth Circuit

     8   said in Citizens for Balanced Use, 648 F.3d 893, 897:                  "In

     9   addition to mandating broad construction" -- and they're

    10   talking about intervention of right -- "our review is guided

    11   primarily by practical considerations, not technical

    12   distractions."

    13                Again, you should be using this vehicle to address

    14   this controversy in a broader way than simply focusing on a

    15   specific plaintiff's claim.

    16                THE COURT:   All right, thank you, Mr. Raphael.

    17                Let me hear, Mr. Reuveni -- is that how you pronounce

    18   your name?

    19                MR. REUVENI:   Yes, Your Honor.

    20                THE COURT:   All right.    Mr. Reuveni, do you know --

    21   first of all, since you are senior litigation counsel, are you

    22   overseeing this litigation as a whole, or are you just

    23   addressing it in this court?

    24                MR. REUVENI:   At the moment, I'm just addressing it

    25   in this court, but we are, we are, as you know --




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 24 of 54 PageID# 293

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     1               THE COURT:    You're litigating all over the country.

     2               MR. REUVENI:    We're litigating everywhere right now.

     3               THE COURT:    Okay.   So I would assume down the road,

     4   there's going to be some uniform approach to this case -- these

     5   cases.

     6               MR. REUVENI:    I would clearly hope so.            It would

     7   allow me to sleep more.

     8               THE COURT:    All right.    Do you have any sense at this

     9   point as to how many people have been affected by this, that

    10   is, how many people to whom -- from these seven countries, how

    11   many people had gotten some kind of visa or authorization to

    12   enter the United States?      Any idea?     Are we talking thousands,

    13   tens of thousands, hundreds of thousands, or you don't know?

    14               MR. REUVENI:    Well, I think it's important to

    15   distinguish two things here in answering this question.                   There

    16   are the group of people that made their plans, had their visas,

    17   and attempted to come over right after the order was signed or

    18   may have already been in the air.        Let's call that the events

    19   of the weekend, January 27th to the 29th.            It's a very small

    20   number.    I don't have the exact figures.          It's in the ballpark

    21   of between 100 and 200 people.       It's a very small --

    22               THE COURT:    Nationwide, not just coming to Dulles.

    23               MR. REUVENI:    Don't hold me to that, but let me make

    24   sure that's correct as to Dulles versus nationwide, and I can

    25   get that to you very quickly afterwards, but that's a much




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 25 of 54 PageID# 294

                                                                                         25

     1   smaller number than the folks that are abroad and can't come

     2   here currently because their visas have been revoked, and so

     3   the government has submitted in two separate lawsuits, the one

     4   in Massachusetts and the one in New York, a notice -- we didn't

     5   submit it here because we didn't believe it was relevant to the

     6   specific facts at issue in this case, because it involved

     7   immigrant visas and lawful permanent resident visas that had

     8   come over over the weekend.       Visas have been revoked.             Over

     9   100,000 visas have been revoked.        That's the scope of this

    10   thing.    Those were revoked on Friday at 6:30 p.m.

    11               That is not this lawsuit.       It is not the lawsuit

    12   Virginia wishes to bring, and it is not the lawsuit the

    13   plaintiffs -- the named plaintiffs that are already in the case

    14   wish to bring, and it is certainly not the lawsuit that the

    15   intervenor who you've granted leave to participate, the K-1

    16   visa, wishes to bring.      Those two individuals and others

    17   similarly situated, at least in this case, we are attempting to

    18   bring them back and resolve those claims.

    19               The individuals abroad who did not get on a plane

    20   before any of this happened and are now trying to come into the

    21   United States, a very different case, and the government at

    22   this time is defending those cases.

    23               THE COURT:    But what's the logical difference?

    24               MR. REUVENI:    The logical difference is they are

    25   folks that made plans and had sort of just call it a reliance




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 26 of 54 PageID# 295

                                                                                         26

     1   interest.    While we were implementing this thing, our clients

     2   were implementing the order, and it was a very chaotic 48 hours

     3   for all of us, those folks seem to be the ones that have the

     4   better argument from the government's perspective as to

     5   something not completely perfect from the government's view

     6   happened.

     7               Those folks that are abroad right now and their visas

     8   have been revoked, that's a totally different case, and if we

     9   are given the opportunity, if that issue arises in this case

    10   and it's certainly already arisen in the Massachusetts case and

    11   potentially in the Washington case that the attorney general of

    12   Washington is bringing, we would argue, the government would

    13   argue that that visa revocation is a non-reviewable

    14   discretionary decision committed to the executive discretion.

    15   That's by statute, 8 U.S.C. 1201 and 8 U.S.C. 1155, but

    16   obviously, we're getting ahead of ourselves here.                That's not

    17   this case, but that's why we would think that will be a very

    18   different lawsuit.

    19               So to the extent Your Honor is contemplating that as

    20   being part of what you have before you right now, there are no

    21   claims to that effect in this case, no plaintiffs in this case

    22   with those types of claims.       Virginia, I don't believe -- I've

    23   seen the complaint that they filed last night or was it two

    24   days ago, they don't raise those claims.            That would be a very

    25   different lawsuit, and there's already other cases addressing




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 27 of 54 PageID# 296

                                                                                         27

     1   that issue -- or where that issue is raised.

     2               As to this case, as to the commonwealth and the

     3   motion for intervention, I think it's absolutely fundamental

     4   that they demonstrate standing if they want to participate in

     5   this case or any case.      If they were to file their own lawsuit,

     6   they would have to have standing.        If you grant them

     7   intervention, they would still need to have standing because

     8   when the Aziz plaintiffs and when the K-1 visa plaintiff, their

     9   matters are resolved, there's no one left with standing, and

    10   standing has to exist at every step of the lawsuit -- at its

    11   commencement, at the motion for preliminary injunction stage,

    12   at the motion to dismiss stage, and so on all the way up on

    13   appeal.    So if they don't have standing, they can't get in this

    14   case.   They can't bring any case.

    15               So this is a pivotal issue to address, and it may not

    16   be this venue in which it should be addressed.              It should be in

    17   their own case, with their own issues, with their own

    18   plaintiffs or individuals they've identified through

    19   declarations.

    20               The issues here are not at all interrelated with the

    21   issues I believe the commonwealth is attempting to bring before

    22   Your Honor.    The LPR issue that they raise, it's a moot point

    23   now.    We've all seen at this point, I think, the White House

    24   guidance on that, and we submitted it with our papers last

    25   night on the opposition --




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 28 of 54 PageID# 297

                                                                                         28

     1               THE COURT:    But, you know, there's case law that just

     2   because there has been a response to alleged illegal activity

     3   doesn't get the parties totally off the hook.

     4               MR. REUVENI:    That's certainly true.           I'm familiar

     5   with that, Your Honor, but I would say in this case involving

     6   the things that happened at Dulles, not a single lawful

     7   permanent resident was turned around.          They've all been

     8   admitted into the United States.        They're all in the United

     9   States presently.

    10               Not a single individual was turned around, so there

    11   is no live controversy as to any lawful permanent resident,

    12   including the Doe plaintiffs -- or the unnamed Doe plaintiffs.

    13   They've all been admitted.       We've confirmed that with our

    14   client.    Not a single lawful permanent resident arriving in

    15   Dulles before your order came in and after you had entered Your

    16   Honor's order, they've not been turned around.              They have been

    17   admitted.    They're here in the United States.

    18               And going forward, lawful permanent residents who

    19   wish to come to the United States, the executive order is not

    20   being applied to them.      They are coming in.         They're getting

    21   into the United States.

    22               So the lawful permanent resident issue from the

    23   government's view in this case is a moot point.               There are no

    24   lawful permanent residents' interests at stake in this case any

    25   longer, and so to the extent the commonwealth wishes to




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 29 of 54 PageID# 298

                                                                                         29

     1   piggyback on those interests to get into this case, that would

     2   be inappropriate because those claims are moot, and there's no

     3   live controversy as to any lawful permanent resident.

     4               I do want to talk for a minute about the case that

     5   the commonwealth raised with you a number of times concerning

     6   its presentation, the CVLR case.        So that's a very different

     7   case.   I've had an opportunity to see it as well as the

     8   commonwealth.     That is a case where a party moved to intervene,

     9   and that motion was denied while the case was live.                 They

    10   appealed the denial of the motion to intervene after the case

    11   was resolved by the actual named parties.

    12               The Court of Appeals said it could exercise its

    13   appellate jurisdiction to address the issue of whether that was

    14   an erroneous denial of the motion to intervene, and I think

    15   it's important, the commonwealth left this part out when it was

    16   reading various language to you, that case cites an earlier

    17   case from the Fourth Circuit, Atkins v. State Board, 418 F.2d

    18   at 876, that's a 1969 case:       ". . . [A] court may treat

    19   intervention as a separate action" only when "the intervenor

    20   has an independent basis for jurisdiction."

    21               So it's arguable whether that case has any bearing

    22   here at all.     The cases that are more relevant are those cases

    23   cited in the federal government's brief at pages 3 through 4.

    24   I'm referring to the Eleventh Circuit, the Tenth Circuit, the

    25   Seventh Circuit, and the Ninth Circuit, all of which hold --




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 30 of 54 PageID# 299

                                                                                         30

     1   and the Ninth Circuit en banc at that -- the intervenor has to

     2   have standing throughout the litigation.            They can't piggyback

     3   on standing, particularly where, as here, the actual parties to

     4   the case, including the other intervenor who is now in the

     5   case, want to resolve the case and move on.

     6                We will meet Virginia in court; I have no doubt about

     7   that.   The question is simply is this case, with very different

     8   issues of the actual named plaintiffs, the place to do that.

     9                As I mentioned, we are defending these cases

    10   nationwide.    We're not trying to run and hide from Virginia.

    11   We know we're going to be defending this in Virginia and

    12   elsewhere.    The question simply is whether it should be here in

    13   this case.

    14                As to the standing itself in this case, from what we

    15   know now, Virginia seems to raise two theories as to standing.

    16   They wish to sue on behalf of their citizens generally, but

    17   that's a settled issue.      The Supreme Court settled that in the

    18   1920s in the Mellon case, and Massachusetts v. E.P.A. case in

    19   2007 similarly revisited the issue and made clear Mellon is

    20   still good law.

    21                The fact that the federal government 's action causes

    22   a general tax burden on your citizens does not provide you

    23   parens -- and I'm going to mispronounce this; I'm terrible at

    24   latin -- parens patriae jurisdiction or standing.                That just

    25   doesn't -- that is a nonstarter in the government's view, and




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 31 of 54 PageID# 300

                                                                                         31

     1   we have that in our papers and cases, and we're happy to give

     2   you more on that if you'd like.

     3               The other, the other injury they raise is the impact

     4   to their public universities, and again, I think here it's

     5   important to realize what is really being challenged:                  Federal

     6   action in the federal space which is committed entirely to the

     7   federal government under the separation of powers on the

     8   state-federal system we have.       So it is the federal government

     9   that actually would have this general welfare of the citizenry

    10   jurisdiction or standing to speak on behalf of individuals

    11   affected by federal law, not Virginia.

    12               And I can refer you specifically to cases addressing

    13   this very issue.     We have them in our papers.           One,

    14   Pennsylvania v. Kleppe (D.C. Cir. 1976), 533 F.2d 668, or if

    15   it's easier, I'll just refer you to the pages in the brief

    16   where that --

    17               THE COURT:    That's all right.       We've read it.

    18               MR. REUVENI:    Okay.   Very good.       I didn't -- I have

    19   no doubt you -- the -- so as to the actual individuals,

    20   Virginia speaks in generalities, and that's really not what

    21   standing requires.     We need specific -- for there to be Article

    22   III jurisdiction, there needs to be specific articulated injury

    23   as to specific individuals, not the commonwealth writ large.

    24               Their papers refer to individuals, generally

    25   professors or students, and again, these are individuals who




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 32 of 54 PageID# 301

                                                                                         32

     1   are not similarly situated to the individuals that are

     2   currently in this case.      F-1 visas and J-1 visas, which would

     3   refer to students coming to the commonwealth's universities,

     4   those are nonimmigrant visas, and this is the issue I alluded

     5   to earlier.    This is a very different claim, very different

     6   issues, very different legal defense the government would make

     7   and different arguments that plaintiffs or the commonwealth

     8   would make if that issue was in this case.

     9               As to some of the other issues, the commonwealth

    10   raised an establishment clause violation as a basis for

    11   standing in this case.      I'd just like to refer the Court to the

    12   Ninth Circuit's decision on this very issue.              It's called the

    13   Catholic League for Religious and Civil Rights v. City of San

    14   Francisco, 624 F.3d 1050.       This one is not in our papers.

    15   States cannot allege injury based on religious stigma or

    16   spiritual or psychological harm derived from federal action or

    17   state action based on -- or impacting religion in some way.

    18               The commonwealth doesn't really address that in their

    19   papers, but that's another impediment to jurisdiction going

    20   forward.

    21               Intervention as of right and permissive intervention,

    22   their papers as to as of right are premised on the same

    23   jurisdictional theory that they cannot rely on.               That's the

    24   general welfare of the citizenry.        So I won't spend too much

    25   time on that.




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 33 of 54 PageID# 302

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     1               Permissive joinder, again, this case is winding down.

     2   Well, at least the government believes as to the named

     3   plaintiffs, it is winding down.        Let me be clear on that.              As

     4   to also the intervenor you just granted intervention to, that

     5   we can resolve very quickly.

     6               And it is, it is our position that it is in the

     7   interests of the United States to resolve these where it is

     8   appropriate, and the commonwealth's papers suggest that we're

     9   just trying to get out of a lawsuit.          That's -- we're being

    10   sued right now in ten different courts.           We're going to be sued

    11   tomorrow in 20 different courts.        That's just not the case.

    12   We're defending these cases.       We're not playing games with the

    13   courts.    It's just a matter of whether these particular

    14   plaintiffs and the issues in this case are the appropriate

    15   vehicle for the commonwealth to come into court and have its

    16   day in court, particularly where they at this time so far as

    17   the government is concerned don't have standing to raise those

    18   claims.

    19               If you have any more questions on that, that's enough

    20   for me.

    21               THE COURT:    All right.    Well, the issue has been very

    22   thoroughly briefed and argued.       We've had, obviously,

    23   relatively short periods of time for both counsel and the Court

    24   to look at all this, but I am satisfied at this point that the

    25   commonwealth has made a sufficient argument to establish that




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 34 of 54 PageID# 303

                                                                                           34

     1   it does have standing to enter into this lawsuit both under

     2   permissive and as of right principles of intervention, and at

     3   this point, I'm granting the motion and therefore will allow

     4   the commonwealth to enter into this litigation.

     5               There have been no objections from either the

     6   original plaintiffs or from the new intervenor, and I therefore

     7   find that it is not inappropriate to allow the commonwealth in

     8   the case.

     9               Now, part of the commonwealth's papers, however, and

    10   I'm not actually going to hear a lot of argument on this today,

    11   the commonwealth has included a motion for an order to show

    12   cause, and I'm not going to grant that motion at this time, in

    13   part because I am encouraged by the attitude of the government

    14   that they're trying to resolve these cases, and I don't want to

    15   stir up the waters unnecessarily.

    16               This Court has always taken the position in any type

    17   of civil litigation that the most successful litigation is that

    18   which can be amicably and appropriately settled, and,

    19   Mr. Barghaan, I know you and your office have a great deal of

    20   experience with that, and I know the Department of Justice does

    21   as well.

    22               I have to tell you I've been on this bench a long

    23   time.   I was the judge that handled the September 11 case.                   I

    24   have never had so much public outpouring as I have seen in this

    25   case.   It is amazing.     I have spoken to some of the other




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 35 of 54 PageID# 304

                                                                                         35

     1   judges in the country who have these cases, and their

     2   experience has been the same.       This order touched something in

     3   the United States that I've never seen before.              People are

     4   really upset.

     5               Now, there is no question the president of the United

     6   States has almost, almost unfettered discretion in matters of

     7   international relations and in protecting the borders.                  There's

     8   no question about that.      But it's not unfettered.            There are

     9   limits.

    10               And this case, this order went into -- was issued so

    11   quickly, it's quite clear that there were not all the -- not

    12   all the thought went into it that should have gone into it.                     As

    13   a result, there has been chaos.       I mean, the example being how

    14   the, for lawful permanent residents, they were captured in this

    15   order, and now the government has recognized that was a

    16   mistake, and they have backed off of that.

    17               But it is a real problem, it seems to me, when the

    18   government has gone through the vetting process, has authorized

    19   individuals to come to this country, and then without any kind,

    20   from what we can tell, of significant fact-finding or any kind

    21   of actual hard evidence that there is a need to rescind those

    22   decisions, to revoke them.

    23               Human beings have relied upon those decisions that

    24   were made by hard-working government authorities.                Families

    25   have expected family members to be reunited with them.




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 36 of 54 PageID# 305

                                                                                         36

     1   Universities have expected students or faculty to be able to

     2   come back.    It has obviously thrown hundreds of thousands of

     3   people into states of great discomfort, and it's something that

     4   the government should think very carefully about how you want

     5   to resolve all of these cases globally.

     6                Again, I commend you for having taken the steps

     7   you've taken so far, but I don't think it's far enough, and I

     8   would hope that you would give serious thought to thinking more

     9   broadly about how you want to address these issues.

    10                In any case, we have this case scheduled for next

    11   Friday for a hearing on a more permanent situation.                 At this

    12   point, all I'm going to do, and I'll have some orders that

    13   we'll issue at some point today, the injunction, the temporary

    14   restraining order which we issued last Saturday was only for

    15   seven days.    That's how it was presented to the Court.                I want

    16   to leave that injunction in place, and I'm going to expand it

    17   slightly, but only slightly, and you'll get it later today, but

    18   it will be in place until next Friday.

    19                I want to make sure that there is no slippage, and

    20   that is, that lawful permanent residents clearly are allowed to

    21   come back in.     I understand the government has agreed to do

    22   that.   I want to make sure that it is done, so I want to

    23   definitely keep that within the language of the injunction, and

    24   at this point, that would be maintaining the status quo.

    25                Plus, I am concerned about the representations in the




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 37 of 54 PageID# 306

                                                                                         37

     1   commonwealth's papers that although the order had clearly said

     2   that people who are being held at Dulles should have the

     3   opportunity to have access to counsel, that that was not being

     4   done.   Now, I understand from the government's papers that

     5   there was some telephone arrangement that was set up.                  I don't

     6   want to get into the details of that today other than to say

     7   that the agents need to be careful at the airport not to

     8   violate a court order because there are sanctions that can

     9   result from that.

    10               I'm not unsympathetic with the poor Customs and

    11   Border Patrol officials at the airport Saturday and Sunday.                     It

    12   was chaotic for everybody, and I'm certainly not going to find

    13   that the people at the low level, who were just following

    14   orders, that was too confusing a time to find that any of them

    15   would have been in contempt.

    16               Whether or not any of the people who are more in

    17   control should have acted differently, I'm not in a position at

    18   this point to address, and frankly, I don't think it furthers

    19   the goal of trying to get these issues resolved by pushing for

    20   contempt citations at this point.

    21               It does appear as though the government is now

    22   working diligently to resolve many of the ills involved, maybe

    23   not all but many of the ills involved in the original case, and

    24   that gives the Court some optimism in this respect, all right?

    25   So unless there's anything else, I think I've resolved all the




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 38 of 54 PageID# 307

                                                                                          38

     1   issues.

     2               Mr. Raphael?

     3               MR. RAPHAEL:    Yes, Your Honor, thank you.              Just a

     4   couple minor points.      Just to be clear, we weren't seeking to

     5   hold the government in contempt.         We were seeking to have them

     6   account for what they've done.

     7               When Your Honor expands slightly the language of the

     8   TRO, I would ask that you make clear that the requirement to

     9   permit access to lawyers means in person access.                The paragraph

    10   7, I think it was, of the motion for a TRO made it clear that

    11   there were lawyers waiting there to see these people.                   There

    12   was nothing preventing them from seeing them if they were

    13   allowed.    They were all -- the people were gathered together.

    14               And the government has apparently taken the position

    15   that it didn't require in person access.             So I think you need

    16   to clarify that or -- they say maybe, maybe telephone access

    17   was okay.    We don't have any records --

    18               THE COURT:    They indicated -- and again, I wasn't

    19   there; I don't know what was going on -- that the folks were

    20   being held in the secondary inspection locations, and I don't

    21   think counsel are permitted into the secondary area.                  That's

    22   the problem.

    23               And so -- but access can be -- I mean, prisoners all

    24   the time have adequate access to counsel via telephone.

    25               MR. RAPHAEL:    Right.    And my point is that we don't




                                              Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 39 of 54 PageID# 308

                                                                                         39

     1   have any records to show that, in fact, people were being

     2   granted access, that the named plaintiffs and the intervenors

     3   say that their phones were taken away.           Mr. Heaphy's client

     4   wasn't allowed to call her fiance.

     5               Maybe that was before the TRO issued, but I think

     6   that there is something very troubling about the fact that

     7   there were so many lawyers there waiting to help, and not a

     8   single one of them got to talk with any of the detainees.                    So I

     9   would just ask the Court to make it clear that CBP must provide

    10   access to lawyers who are on hand, willing and waiting to help,

    11   or it's going to be unfair to these people.

    12               THE COURT:    All right.    Let me hear the government's

    13   response to that.     I'm sorry, was there another thing?

    14               MR. RAPHAEL:    Yeah, I had a couple more points.                Part

    15   of the problem -- part of the consequence of the lawyers not

    16   having access is there was a restriction on the flow of public

    17   information.     We know very little about what was going on

    18   there.    The fact that lawyers weren't involved means the

    19   lawyers couldn't tell us what was going on there.

    20               As you know, the attorney general sent a letter to

    21   the government on last Sunday with these concerns and asking

    22   for the names of Virginia residents who have been removed from

    23   the country or blocked from entering, and so I would ask the

    24   Court today to require the government to tell the commonwealth

    25   of Virginia which Virginia residents have been denied entry or




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 40 of 54 PageID# 309

                                                                                         40

     1   have been removed from the country, and I would ask for the

     2   name, the Virginia address, the foreign residence address, the

     3   type of visa, a phone number where we can get in touch with

     4   these Virginia residents, and an e-mail address if they have

     5   it.

     6                I would ask for that both retrospectively, anybody

     7   whose visas were cancelled, and prospectively, any Virginia

     8   resident whose visa is cancelled going forward, and the same

     9   for people removed.      If somebody's been removed from the

    10   country, we'd like to know which Virginia residents were

    11   removed both retrospectively and prospectively.               I don't think

    12   that's asking for a lot.

    13                And I want to say one thing about the government's

    14   good faith.    I am, I am pleased that they are willing to whisk

    15   people back when they come to our attention.              They're not going

    16   to come to our attention if we don't have this list because,

    17   you know, please stand forward if you're not here, right?                    It's

    18   hard to know who's affected.       So I think that list is really

    19   important.

    20                And I don't, I don't want to be overly critical of

    21   the government on this, but I think it's important to point out

    22   that there appears to be some strategic maneuvering here not by

    23   counsel but by counsel's client.        So whenever one of these

    24   folks comes forward and files a lawsuit and intervenes, they

    25   are immediately presented with a deal that drop your case and




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 41 of 54 PageID# 310

                                                                                         41

     1   I'll bring your person back and dismiss your case with

     2   prejudice, which is exactly why you need a vehicle like this

     3   case, where you allow permissive intervention, but there's

     4   something very troubling about the way this is playing out.

     5               These people were excluded based on national origin

     6   on the theory that they were a security risk, but if they can

     7   file a lawsuit, you get right back unless you are a security

     8   risk.   So I'm very -- we're very troubled by that.

     9               MR. HEAPHY:    Your Honor, before the government goes,

    10   can I just add one thing?

    11               THE COURT:    Yes.

    12               MR. HEAPHY:    Thank you.    It's on the scope of your

    13   order on counsel, Your Honor.       My client now has a lawyer, and

    14   that's me, and arguably, we would be protected by the temporary

    15   restraining order in terms of access to counsel, and I just

    16   want to be clear that I understand the Court's order correctly.

    17   It applies to lawyers' access to all legal permanent residents

    18   being detained at Dulles International Airport.

    19               When it's extended, Your Honor, I would assume that

    20   that allows me to have access to Ms. Fadul despite the fact

    21   that she's in this K-1 status, not yet a lawful permanent

    22   resident, that the Legal Aid Justice Center and Mayer Brown

    23   also have access to their clients upon their return.

    24               My understanding is that the government, through its

    25   good faith efforts to resolve the case, are going to make




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 42 of 54 PageID# 311

                                                                                         42

     1   efforts to reinstate my client's visa, but when she arrives,

     2   we'd very much like to be there and facilitate her processing

     3   through CBP so that there is no confusion, that the order is

     4   enforced.

     5               THE COURT:    Well, before this order went into effect,

     6   what was the arrangement for access to counsel at Dulles

     7   Airport?

     8               MR. HEAPHY:    I don't know, Your Honor.

     9               THE COURT:    All right.

    10               MR. SANDOVAL-MOSHENBERG:       If I may address that?

    11               THE COURT:    All right, Mr. Sandoval-Moshenberg.

    12               MR. SANDOVAL-MOSHENBERG:       Thank you, Your Honor.             My

    13   practice, although I've been practicing immigration for

    14   eight-and-a-half years, does not generally involve consular

    15   processing, bringing people into the country, but I can tell

    16   you that it is not the case that lawyers are never allowed to

    17   speak with clients when those clients are taken, for example,

    18   into credible fear interviews, for example.             So it is -- it

    19   would certainly not be the first time, you know, in the history

    20   of Dulles Airport that attorneys are allowed back into the CBP

    21   area.

    22               THE COURT:    All right.

    23               All right?

    24               MR. REUVENI:    Maybe I can go now?

    25               THE COURT:    Yeah.




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 43 of 54 PageID# 312

                                                                                         43

     1               MR. REUVENI:    Thank you.     Let me take these in

     2   reverse order, Your Honor, because there are a number of things

     3   here, and it looks like we are going to argue some aspect of

     4   the commonwealth's motion, even though we weren't going to, but

     5   now we are.

     6               You hit on this point earlier, and this is a line, I

     7   think, that CBP would have to draw, and this is just, lawyers

     8   do not get into secondary inspection unless that becomes a

     9   custodial interrogation or a criminal investigation occurs and

    10   a right to counsel attaches.

    11               The INA is very clear on this, and I want to speak to

    12   the Aziz attorney's point.       Credible fear hearings, those are

    13   an adjudicatory proceeding that you actually have by regulation

    14   entitlement to counsel.      You're not in secondary when that

    15   happens.    A credible fear hearing does not occur in secondary

    16   with CBP.    A credible fear hearing occurs in front of the

    17   United States Citizenship and Immigration Service.                Totally

    18   different entity, not part of this lawsuit at least at this

    19   time.

    20               I am not aware of, no party has cited any case in

    21   which any individual, including citizens returning to the

    22   United States who would just go through normal secondary

    23   process, have a lawyer in secondary.          I don't think it's really

    24   hard to imagine what sort of operational problems that may

    25   present at the border, but more so in terms of trying to move




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 44 of 54 PageID# 313

                                                                                         44

     1   forward with this litigation and just getting past this weekend

     2   and addressing the real issues, that's the sort of thing that

     3   the government would probably have to look at very closely if

     4   the order was expanding to that.

     5               Actually, I will say this:        The counsel, pro bono

     6   counsel, we are not aware of anyone after Your Court -- Your

     7   Honor's order was implemented who -- of anyone asking for

     8   counsel who was a lawful permanent resident once they received

     9   this document, because they were getting waived through very

    10   quickly -- why would you want to talk to a lawyer if you're

    11   getting admitted to the United States? -- which suggests things

    12   were working fine once your order was operationalized.

    13               So there's really -- the government would strongly

    14   oppose, and this is really the only issue we're left -- we're

    15   opposing here, expanding the order to apply to individuals who

    16   are in secondary.     That's not the law, and the INA doesn't

    17   provide for it, and there's no constitutional right to that for

    18   anyone, let alone arriving aliens who have never been admitted

    19   to the United States before and have no ties or connection to

    20   this country.

    21               As to the commonwealth's request for a list, that

    22   seems way beyond the scope of the TRO you entered, which had to

    23   do with access to counsel, and the commonwealth never mentioned

    24   this to us when we in good faith were discussing bringing back

    25   these potentially one or two individuals they mentioned.




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 45 of 54 PageID# 314

                                                                                           45

     1               I want to -- since I mention that, I take issue with

     2   the fact on behalf of the federal government that the

     3   commonwealth is suggesting we're mooting cases out

     4   strategically.     Everyone in this courtroom knows very well we

     5   have dozens of these across the country.            Some of them we are

     6   litigating; some of them we're not.

     7               As to the events that happened on the weekend, those

     8   seem like cases we're looking to resolve because that is an

     9   entirely different scenario than people now trying to come to

    10   the United States with a revoked visa.           Those we're defending.

    11   Those at this time we're continuing to defend.              There's no

    12   strategic mooting of cases out occurring here from the

    13   government's view.

    14               Back to the list, I mean, we would oppose that.                  We

    15   don't see any reason for it right now, and frankly, it would

    16   complicate moving forward with trying to resolve some of these

    17   cases if we have to dig in and look for names, and I don't see

    18   its relevance right now.      I don't see its helpfulness to where

    19   we are in this case right now, and at the very least, we would

    20   request, Your Honor, an opportunity to provide a brief opposing

    21   that.

    22               THE COURT:    Well, again, how many people do you think

    23   as best you can tell were removed from Dulles over the weekend?

    24               MR. REUVENI:    So now that we're talking about not

    25   just lawful permanent residents --




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 46 of 54 PageID# 315

                                                                                         46

     1               THE COURT:    The whole --

     2               MR. REUVENI:    Everyone --

     3               THE COURT:    Yeah.

     4               MR. REUVENI:    -- trying to come into Virginia, I

     5   don't know the answer because the answer I had before I came to

     6   court today was limited to lawful permanent residents, which

     7   was zero people removed over the weekend.

     8               So I don't have the answer as to nonimmigrants, and I

     9   don't have the answer as to individuals who had immigrant visas

    10   but had not yet been admitted to the United States so had not

    11   yet been lawful permanent residents.

    12               THE COURT:    And among -- I'm sorry, among the people

    13   who were removed on Saturday and/or Sunday, did that include

    14   refugees?    If you know.    If you don't know, I mean,

    15   obviously -- yeah.

    16               MR. REUVENI:    No, I'd be speculating.           I'd like to

    17   say no, but I'm speculating.

    18               THE COURT:    All right.

    19               MR. REUVENI:    So I'll just go with I don't know right

    20   now.

    21               THE COURT:    Okay.

    22               MR. REUVENI:    If need be, if necessary, I can find

    23   out, but what I do know, not a single lawful permanent resident

    24   even before your order was entered, between the time the

    25   executive order was signed and your TRO was -- CBP received




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 47 of 54 PageID# 316

                                                                                          47

     1   notice of it, and thereafter, no lawful permanent residents

     2   were removed.     The government -- every single one has been

     3   admitted to the United States that I'm aware of, and those that

     4   would now proceed to continue to try to come to Dulles and get

     5   on a plane, the way that they're supposed to be working is they

     6   get on a plane, they arrive at Dulles, they don't otherwise

     7   have some reason under the INA during the secondary inspection,

     8   if they get through secondary, to be denied entry, they're

     9   admitted to the United States.

    10               THE COURT:    Are lawful permanent residents normally,

    11   normally required to go through secondary?

    12               MR. REUVENI:    No one is required to go through

    13   secondary if they're a lawful permanent resident, but everyone

    14   including citizens can be asked to go through secondary.

    15               THE COURT:    Right.   All right, so there has never

    16   been an established practice in the past that all LPRs must go

    17   through secondary?

    18               MR. REUVENI:    I'm not aware of one.

    19               THE COURT:    And is that what's happening now?               That

    20   is, those LPRs who are being permitted, permitted back in the

    21   country from those particular countries, are they all required

    22   to go through secondary?

    23               MR. REUVENI:    Well, no.    To be clear, we're talking

    24   about two different points in time.         So we're talking about the

    25   weekend, and yes, at that time, lawful permanent residents were




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 48 of 54 PageID# 317

                                                                                         48

     1   going through secondary and then getting this waiver process

     2   that the executive order anticipates and outlines, and they

     3   were getting waived through pretty quickly, 15 to 30 minutes

     4   after, by Sunday is my understanding.

     5                Going forward, no.    We have the White House guidance

     6   that we attached to our intervention.          The way that our --

     7   opposition to intervention.       The way that is being

     8   operationalized, they are not, they are not going through

     9   secondary.

    10                If there is an independent reason other than the

    11   executive order, as it would have been before the order was

    12   signed on Friday, to go to secondary, they're going to

    13   secondary, as everybody else would if the order didn't exist.

    14                THE COURT:   So it's your understanding that lawful

    15   permanent residents now are being treated exactly the -- from

    16   those seven countries are being treated the same as they would

    17   have been treated a year ago.

    18                MR. REUVENI:   Correct.    So the guidance and the way

    19   that it's being implemented, sections 3(c) and 3(e) of the

    20   executive order that would otherwise apply if read that way to

    21   lawful permanent residents does not apply to them, so they are

    22   to be treated -- are being treated so far as I know as though

    23   it was 4:21 Friday.

    24                THE COURT:   But you would agree with me that within

    25   the four corners of that document, that is not included.                   It




                                             Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 49 of 54 PageID# 318

                                                                                           49

     1   required the additional statement by counsel to make it clear

     2   that they were not included within the executive order.

     3               MR. REUVENI:    Well --

     4               THE COURT:    I didn't see the word "lawful permanent

     5   residents" in there.

     6               MR. REUVENI:    No, that is in there.            "I understand

     7   that there has been reasonable uncertainty about whether those

     8   provisions" -- and I'm reading from the counsel for the

     9   president's memorandum, back to the language -- "apply to

    10   lawful permanent residents of the United States.                 Accordingly,

    11   to remove any confusion, I now clarify that Sections 3(c) and

    12   3(e) do not apply to such individuals.             Please immediately

    13   convey this interpretive guidance to all individuals

    14   responsible for the administration and implementation of the

    15   Executive Order."

    16               So at least in the government's understanding of

    17   this, no lawful permanent residents are going to secondary

    18   solely on the basis of the executive order.               Again, if there's

    19   some independent basis that it preexisted the executive order

    20   that's in the INA, yes, they're going to secondary, but other

    21   than that, no.     The order does not apply to them so far as the

    22   government is concerned.

    23               THE COURT:    All right.

    24               MR. REUVENI:    Thank you.

    25               THE COURT:    Mr. Raphael?




                                               Anneliese J. Thomson OCR-USDC/EDVA (703)299-8595
Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 50 of 54 PageID# 319

                                                                                         50

     1                MR. RAPHAEL:   Just a couple points.          Just on that

     2   last point, section -- as we, as we read the executive order,

     3   it does apply to lawful permanent residents.              There is an

     4   exemption -- an exception in 5(g), but it requires case-by-case

     5   review.

     6                And so what's happened here is after the chaos

     7   developed, I think the government realized they made a mistake

     8   or at least it wasn't turning out as they planned, and the

     9   secretary has promulgated this sort of categorical decree that

    10   if you're an LPR, you can come in.         I don't, I don't see how

    11   that comports with 5(g), which required case-by-case review.

    12                But Your Honor touched on it earlier.            Under the

    13   voluntary cessation doctrine, they snap their fingers; they

    14   change it.    They can snap their fingers back, and unless the

    15   wrongful conduct is absolutely certain not to recur, they can't

    16   moot the case out by changing their -- by changing what they're

    17   doing.

    18                On the issue of the list, this is no surprise.                We

    19   asked for this list last Sunday.        We might not have gotten in

    20   this case if they'd given it to us and we could figure out the

    21   full extent of the damage to Virginia residents.

    22                We're here seven days after this order was issued,

    23   only five business days, and we know of these two students who

    24   were stranded that I mentioned earlier, and yeah, we're trying

    25   to get them back, but there could be many others, and we can't




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 51 of 54 PageID# 320

                                                                                          51

     1   find them unless we know who they are.           It is not an

     2   unreasonable request for the government to tell us which

     3   Virginia residents they have not let in or who have been

     4   removed, and I think that's very reasonable.

     5               And the last thing I might ask, Your Honor, given a

     6   showing of cooperation here, if Your Honor might consider

     7   appointing a magistrate judge who might facilitate mediation

     8   efforts, such as Magistrate Judge Buchanan, who's been

     9   extremely successful on these things.

    10               THE COURT:    All right.    Well --

    11               MR. REUVENI:    Your Honor, just one last point?

    12               THE COURT:    Yeah.

    13               MR. REUVENI:    I just want to clarify any confusion

    14   here.   Paragraph 5(g) that counsel refers to applies to

    15   refugees.    Paragraph 3 applies to lawful permanent residents.

    16   That's why the White House guidance says nothing about

    17   paragraph 5.     Refugees coming here are not lawful permanent

    18   residents; they're refugees, different category.               Maybe one day

    19   they will become lawful permanent residents, but refugees don't

    20   have that status when they arrive in the United States.

    21               THE COURT:    All right, thank you.

    22               MR. RAPHAEL:    I'm sorry, it's 3(g), not 5(g).               3(g)

    23   does apply.    3(g).

    24               MR. REUVENI:    You said 5(g).

    25               THE COURT:    You had said 5(g).




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 52 of 54 PageID# 321

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     1                MR. RAPHAEL:   I apologize, it was 3(g).            That calls

     2   for case-by-case review.

     3                THE COURT:   All right.

     4                MR. REUVENI:   On the list, again we would, we would

     5   oppose what the commonwealth is proposing, and we think it

     6   would change the tenor of this litigation dramatically, but if

     7   you would like us to get back to you with a brief on that, we

     8   can do so.    We just haven't had enough time to think of that or

     9   respond to it.     It just came up today.

    10                THE COURT:   All right.

    11                MR. REUVENI:   As to the letter, I mean, I would say

    12   one last thing; I apologize, Your Honor.            The letter asked us

    13   to respond to ongoing litigation.        I think we all understand

    14   the position that puts the U.S. government in when we're asked

    15   to give information that could affect ongoing litigation.

    16                THE COURT:   All right.    Well, we'll take a look at

    17   that issue in chambers, but at this point, then I've allowed --

    18   granted the motions to intervene.        We're going to extend the

    19   temporary restraining order to keep things somewhat in place.

    20                The access to counsel issue is a troubling one

    21   because I -- my experience having handled many cases at Dulles

    22   is that, in fact, the government's position is correct that

    23   normally, under normal circumstances, counsel would not have

    24   the right to have direct, in person contact with people who are

    25   held up in the process there.




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 53 of 54 PageID# 322

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     1                There are exceptions, and I do believe in one of your

     2   sets of papers, there was discussion about reference of people

     3   to hotlines or telephone contact with various agencies that

     4   provide legal counsel in immigration.           So I'll see what makes

     5   sense to me.

     6                I mean, I do think that probably this issue is

     7   somewhat less pressing than it was on Saturday because at this

     8   point, I don't think folks are coming to the airport who would

     9   be covered by this, right?        I mean, are there any more issues

    10   of people who have been coming to the airport and being turned

    11   around since this weekend?

    12                MR. RAPHAEL:   Well, I mean, LPRs, I guess after the

    13   government's change in position, are now allowed in.

    14                THE COURT:   LPRs are coming in, and the problem now

    15   is from your standpoint, is that everybody else is basically

    16   stopped because the airlines won't let -- they aren't getting

    17   the visas.

    18                MR. RAPHAEL:   That's right.

    19                THE COURT:   Yeah.

    20                MR. RAPHAEL:   And Your Honor's TRO applied only to

    21   LPRs.

    22                THE COURT:   Correct.

    23                MR. RAPHAEL:   And so I think the counsel issue is

    24   still a live issue if they have problems going forward.

    25                THE COURT:   If LPRs have problems.




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Case 1:17-cv-00116-LMB-TCB Document 43 Filed 02/04/17 Page 54 of 54 PageID# 323

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     1               MR. RAPHAEL:    Yes, yes.

     2               MR. REUVENI:    Yes.   No one is getting turned around

     3   at the airport if they're a lawful permanent resident.                  If

     4   they're not and they don't have a valid visa, practically

     5   speaking, they're not getting on a plane to get here, so that

     6   can't be an issue unless and until they do.

     7               THE COURT:    All right, thank you.

     8               All right, I think that resolves everything for

     9   today.    We will recess court until 12:00.

    10               MR. RAPHAEL:    Thank you.

    11                                (Which were all the proceedings had

    12                                  at this time.)

    13

    14                        CERTIFICATE OF THE REPORTER

    15         I certify that the foregoing is a correct transcript of

    16   the record of proceedings in the above-entitled matter.

    17

    18

    19                                                   /s/
                                                  Anneliese J. Thomson
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